                       Case 2:05-cr-00125-MCE Document 335 Filed 02/19/10 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                         United States District Court
                                                   Eastern District of California

           UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                      v.                                                           (For Revocation of Probation or Supervised Release)
                                                                                   (For Offenses committed on or after November 1, 1987)
                DARNELL FOSTER
                         (Defendant’s Name)                                        Criminal Number: 2:05CR00125-08


Date of Original Judgment:               2/10/2010                                 Caro Marks, AFD
(Or Date of Last Am ended Judgm ent)                                               Defendant’s Attorney

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))             [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances
          (Fed R. Crim. P. 35(b))                                        [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
                                                                         Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))   [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                         Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[U] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)    [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                         [ ] 18 U.S.C. §3559(c)(7),      [ ] Modification of Restitution Order


THE DEFENDANT:
[U] adm itted guilt to violation of charges 1, 2, 3, 4, and 5 as alleged in the violation petition filed on 1/19/2010 .
[]  was found in violation of condition(s) of supervision as to charge(s)      after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                          Nature of Violation                                           Date Violation Occurred
See next page.



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 06/12/2008 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]        Charge(s)           is/are dism issed.


          Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                         02/04/2010
                                                                         Date of Im position of Sentence




                                                                         Signature of Judicial Officer

                                                                         M ORRISON C. ENGLAND, JR., United States District Judge
                                                                         Nam e & Title of Judicial Officer

                                                                         2/19/2010
                                                                         Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:05CR00125-08                                                                   Judgment - Page 2 of 3
DEFENDANT:                  DARNELL FOSTER

                                                       ADDITIONAL VIOLATION
                                                                                     Date Violation
Violation Num ber                    Nature of Violation                             Concluded

1                                    Failure to Notify Probation Officer W ithin 72 05/25/2009
                                     Hours of Being Questioned by Law Enforcem ent

2                                    Failure to Subm it W ritten Monthly Report Form s 07/2009 and 08/2009

3                                    Failure to Report to Drug Testing               07/14/2009 to 10/27/2009

4                                    Failure to Abstain From the Use of Illegal      07/27/2009 to10/29/2009
                                     Drug Use

5                                    Failure to Make Paym ents Towards Restitution   01/05/2009 to 01/13/2010
                   Case 2:05-cr-00125-MCE Document 335 Filed 02/19/10 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:05CR00125-08                                                                Judgment - Page 3 of 3
DEFENDANT:                 DARNELL FOSTER



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 7 m onths (no supervision to follow).




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in Sacram ento County Jail, but only insofar as this
         accords with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
